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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION

 UNITED STATES OF AMERICA,                )
                                          )
 Plaintiff,                               )
                                          )
 vs.                                      )    NO. 2:09-CR-35
                                          )
 RONALD ZITT,                             )
                                          )
 Defendant.                               )

                           OPINION AND ORDER
       This matter is before the Court on the (1) “Memorandum of Law

 in Support of Motion to Dismiss For Prosecutorial Misconduct-Misuse

 of Information,” filed by Ronald Zitt (“Zitt”) on August 15, 2011

 (DE #483); (2) “Motion for Disclosure of Government’s Witnesses at

 Sentencing,” filed by Zitt on August 24, 2011 (DE #486); (3) the

 “Motion to Dismiss Indictment for Conflict of Interest of Case

 Agent,” filed by Zitt on August 25, 2011 (DE #488); and (4) the

 “Defendants Motion for Cross Examination of Governments Witness,”

 filed on September 23, 2011 (DE #503).        For the reasons set forth

 below, the Motion to Dismiss for Prosecutorial Misconduct (DE #483)

 is DENIED; the Motion for Disclosure (DE #486) is GRANTED; the

 Motion to Dismiss for Conflict of Interest (DE #488) is                DENIED;

 and the Motion for Cross Examination of Governments Witness (DE #

 503) is DENIED IN PART AND TAKEN UNDER ADVISEMENT IN PART, as

 described more fully below.
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 BACKGROUND

       On October 15, 2010, Zitt was convicted of one count of

 conspiracy to possess with intent to distribute and distribute one

 kilogram or more of heroin and two counts of distributing heroin.

 Zitt has had four separate defense attorneys, and has expressed

 dissatisfaction with each of them during these proceedings.                     After

 his conviction, Zitt continued to express dissatisfaction with his

 attorney, and after many motions and hearings, Zitt ultimately

 decided to proceed pro se on July 14, 2011.                      Once no longer

 represented by counsel, Zitt filed the instant motions.

       After Zitt filed the motions to dismiss and the motion for

 disclosure    of   witnesses   the     government         intends    to      call    at

 sentencing, the Court took the motions under advisement, ordered

 the Government to respond by September 8, 2011, and advised Zitt

 that he had to and through September 15, 2011, to file his reply.

 (DE #490.)    In its response, which was filed by the deadline, the

 Government argues that the motions to dismiss the indictment should

 be denied because they are untimely.              (DE #494, pp. 2-3.)               The

 Government specifically objects to the Court reaching the merits of

 Zitt’s motions, stating that Zitt had ample time to timely file any

 necessary post-trial motions and that he has already “delayed these

 proceedings on multiple occasions.”            (Id. at 3.)       The Government,

 however, expressed a willingness to accommodate Zitt’s request for

 the names of witnesses who may be called at sentencing.                      Zitt has


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 replied and the motions to dismiss and motion for disclosure of the

 Government’s    witnesses    and   these       motions    are   now    ripe    for

 adjudication.



 DISCUSSION

 Motions to Dismiss

       Zitt seeks dismissal of the indictment both for alleged

 prosecutorial misconduct and an alleged conflict of interest of the

 case agent.      Zitt alleges that federal prosecutors engaged in

 misconduct of a variety of kinds: intentional intimidation of

 witnesses, abuse of the grand jury process, interference with

 defendants attorney-client relationship, and conflicts of interest.

 The alleged conflict of interest that serves as the basis for the

 second of Zitt’s motions to dismiss is that he is (or previously

 was) related by marriage to the lead agent of the Michigan City,

 Indiana task force, and that this individual has engaged in

 unethical and inappropriate behavior in order to ensure Zitt is

 incarcerated.

       The Government argues that, although the motions do not say

 under which rule or rules they are brought and could conceivably be

 construed as motions under a variety of different rules, the

 motions are untimely however they are construed.                  Zitt contends

 that the motions should not be treated as untimely because he

 repeatedly asked his various attorneys to file these motions on his


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 behalf, each refused, and he filed them once he became pro se.

       The Government treats the instant motions to dismiss as

 falling into one of the categories of post-trial motions which is

 explicitly allowed to be filed by the federal rules of criminal

 procedure. A motion for a new trial under Federal Rule of Criminal

 Procedure 33 must be filed within 14 days of the verdict unless it

 is grounded on newly discovered evidence.                  Nothing in Zitt’s

 motions suggests that his motions are based on new evidence.                      A

 request to arrest the judgment under Federal Rule of Criminal

 Procedure 34 must also be filed within 14 days of the verdict.

 Motions for judgment of acquittal under Federal Rule of Criminal

 Procedure 29 are subject to the same 14-day deadline.                      Whether

 Zitt’s motions are construed as motions for new trial, requests to

 arrest the judgment, or motions for judgment of acquittal, his

 motions were not filed within the 14 days allowed by the federal

 rules of criminal procedure.

       On October 27, 2010, Zitt filed a motion seeking a 30-day

 extension of time to file his post-trial motions and indicating

 that he wanted to obtain new counsel (DE #364).              Zitt’s motion was

 denied with leave to refile because he was still represented by

 counsel and therefore could not file the motion pro se, but the

 court sua sponte extended the deadline for filing post-trial

 motions until November 12, 2010, and scheduled a hearing regarding

 whether Zitt intended to proceed pro se.                  At the hearing on


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 November 2, 2010, Zitt chose not to represent himself and expressed

 that he wanted his court appointed counsel to continue to represent

 him.    On November 12, 2010, the day post-trial motions were due,

 Zitt asked for an extension of time to allow for substitution of

 counsel.    His motion indicated he was trying to find an attorney

 who would file the post-trial motions he wanted filed, and he

 requested an additional 14-day extension of time. That request was

 denied, with the Court noting that Zitt was still represented by

 counsel and that Zitt had not indicated that he wished to fire his

 current court-appointed attorney.            Zitt ultimately terminated his

 counsel on July 14, 2011, and thereafter filed the instant motions

 to dismiss.

        Zitt’s motions to dismiss were filed after the time set by the

 federal rules of criminal procedure for filing post-trial motions

 and the deadline set by this Court for post-trial motions. Although

 not jurisdictional, these “claim processing rules” apply when

 properly invoked by the Government. Eberhart v. United States, 546

 U.S. 12, 18-19 (2005).     Here the Government has objected to Zitt’s

 untimely filings.

        Although neither Zitt nor the Government addressed Federal

 Rule of Criminal Procedure 12(b), the timeliness of Zitt’s motions

 to dismiss could also be analyzed under that rule. Federal Rule of

 Criminal Procedure 12(b)(3) provides that certain motions must be

 made before trial, including “a motion alleging a defect in the


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 indictment or information - but at any time while the case is

 pending,   the   court   may   hear    a    claim   that   the    indictment      or

 information fails to invoke the Court’s jurisdiction or to state an

 offense.” Failure to timely raise such motions constitutes waiver,

 although the Court may excuse a defendant’s failure to file a

 motion timely for good cause.          F.R.Cr.P. 12(c) and (e);              United

 States v. Cathey, 591 F.2d 268, 271 n. 1 (5th Cir.1979); U.S. v.

 Whitfield, 590 F.3d 325, 359 (5th Cir. 2009); United States v.

 Dulcio, 441 F.3d 1269, 1275 (11th Cir.2006).

       At the point Zitt terminated his counsel, it was too late to

 file a motion to dismiss the indictment under Rule 12(b) unless it

 alleged that the Court lacked jurisdiction or the indictment fails

 to state a claim. This Court has examined Zitt’s motions, and they

 do not challenge this Court’s jurisdiction or allege that the

 indictment    does   not   state      an    offense.        The    motions     are,

 accordingly, late.

       Additionally, Zitt has not established good cause for the

 lateness of his filings.       Zitt argues that the lateness should be

 excused because his attorney refused to file these motions.                    Zitt

 regularly expressed discontent with his counsel and was regularly

 advised of his right to proceed pro se, but he did not elect to do

 so until after trial and after the deadline for filing post-trial

 motions.     If Zitt’s attorney would not file these motions on his

 behalf, Zitt was free to terminate his attorney and file the


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 motions pro se at any time, including before trial.                        Zitt has

 regularly demonstrated a desire to “have it both ways”: to have an

 attorney represent his interest, but to also be allowed to file

 documents by himself that his attorneys do not wish to file on his

 behalf.     It has been made clear that this Court would not allow

 Zitt to proceed in that manner.

       Although Zitt claims he requested that these motions be filed

 all along, he waited ten months after the jury found him guilty and

 over four weeks after he terminated his last attorney to file the

 motions.    His lack of diligence in filing the motions is further

 demonstrative of a lack of good cause given the length of time Zitt

 contemplated proceeding pro se prior to actually terminating his

 counsel.     Accordingly, the motions to dismiss are                   DENIED     as

 untimely.



 Motion for Disclosure of Government’s Witnesses at Sentencing
 Hearing

       Zitt asks that this Court order the Government to disclose its

 list of witnesses it intends to call at sentencing.                 At the time

 the motion was filed, sentencing was scheduled for October 7, 2011.

 The Government responded to Zitt’s motion by stating that it has no

 obligation to provide such a list, but that it does not object to

 providing the requested names.         The Government indicated that it

 would send the list to Zitt via express mail by September 16, 2011,

 three (3) weeks prior to sentencing.              However, the court later

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 continued the sentencing on the Government’s request.                  After due

 consideration, and there being no objection by the Government,

 Zitt’s motion for disclosure of witnesses the Government plans to

 call at sentencing is GRANTED.         The Government is now ORDERED to

 provide Zitt with the names of its potential sentencing witnesses

 via express mail three (3) weeks prior to Zitt’s sentencing.



 Defendant’s Motion for Cross Examination of Government’s Witnesses

       Zitt asks the Court to turn over criminal history reports for

 potential government witnesses. Presumably, he intended to ask the

 Court to order the Government to provide such information.                  To the

 extent Zitt is asking this Court to provide him with the requested

 information, his request is DENIED. To the extent he is requesting

 that this Court order the Government to provide him with criminal

 history reports, his request is TAKEN UNDER ADVISEMENT.                        The

 Government is ORDERED to file a response to this motion on or

 before November 7, 2011.        Zitt may file a reply on or before

 November 18, 2011.


 DATED: October 31, 2011                      /s/ RUDY LOZANO, Judge
                                              United States District Court




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